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                 EXHIBIT B-163
         Case 1:23-cv-03721-SCJ Document 1-175 Filed 08/21/23 Page 2 of 6
                                                                                      FILED IN OFFICE:

                 IN THE SUPERIOR COURT OF FULTON COUNTY
                                                                                     DE·l-'IJ r


                                    STATE OF GEORGIA


                                                               Case No. 2022-EX-000024
         IN RE: SPECIAL PURPOSE GRAND
         JURY                                                  Judge Robert C.I. McBurney




            VERIFIED APPLICATION FOR PRO HAC VICE ADMISSION
         Pursuantto GeorgiaUniformSuperiorCourtRule 4.4, I, Brad S. Karp (Applicant),hereby

apply to this HonorableCourt for admissionto practicein the above-styledcasepro hac vice. In

supportof this application,Applicantstatesas follows:

  ,



           My businessaddressis:
           Paul, Weiss, Rifkind, Wharton & Garrison LLP
           12856th Ave
           New York, New York 10019
           USA
           Phone:212-373-3316
           bkarp@paulweiss.com
  : 3.    . I have been retainedto representthe followingclient(s):
           DonaldAyer, John Fanner, StuartOerson,Tanya Miller,J. Tom Morgan,Sarah Saldana,
           WilliamF. Weld,and Shan Wu

           c/o Brian S. Kammer
           241 E Lake Dr
           Decatur, GA 30030
           Tel: (678) 235-4964

  4.       I am a memberin good standingof the followingjurisdictions:
           Jurisdiction: U.S. Court of Appeals, 11th Circuit
           Date Admitted:04/09/2019
           Still Admitted:Yes
           Bar/RegistrationNo.: NIA
     Case 1:23-cv-03721-SCJ Document 1-175 Filed 08/21/23 Page 3 of 6



     Jurisdiction: U.S. Court of Appeals, 9th Circuit
     Date Admitted: 08/20/2015
     Still Admitted: Yes
     Bar/Registration No.: NIA

     Jurisdiction: U.S. Court of Appeals, 7th Circuit
     Date Admitted: 04/13/2007
     Still Admitted: Yes •
     Bar/Registration No.: N/ A

     Jurisdiction: U.S. Court of Appeals, Third Circuit
     Date Admitted: 10/06/1997 •
     Still Admitted: Yes
     Bar/Registration No.: N/ A

     Jurisdiction: U.S. Court of Appeals, Second Circuit
     Date Admitted: 10/08/1991
     Still Admitted: Yes
     Bar/Registration No.: NIA

     Jurisdiction: U.S. Court of Appeals, Federal Circuit
     Date Admitted: 11/23/1997
     Still Admitted: Yes
     Bar/Registration No.: NIA

     Jurisdiction: U.S. District Court, Eastern District of New York
     Date Admitted: 03/24/1987
     Still Admitted: Yes
     Bar/Registration No.: BK3702

     Jurisdiction: U.S. District Court, Southern District of New York
     Date Admitted: 03/24/1987
     Still Admitted: Yes
     Bar/Registration No.: BK3702

     Jurisdiction: New York, 1st Department
     Date Admitted: 05/05/1986
     Still Admitted: Yes
     Bar/Registration No.: 264509

5.   I have never been a member of the State Bar of Georgia.

6.   I have never been denied pro hac vice admission in Georgia.

7.   I have never had pro hac vice admission revoked in Georgia.

8.   I have never been sanctioned or formally disciplined by a court in Georgia.

9.   I have never been the subject of any formal disciplinary proceedings.
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10.   I have never been formally held in contempt, or otherwise sanctioned by a court in a
      written order, for disobedience to its rules or orders.

11.   In the past two years I have not filed for pro hac vice admission in Georgia.

12.   I have reviewed and am familiar with the Georgia Rules of Professional Conduct and all
      court rules relevant to practice before the court in which I am seeking admission.

13.   My local sponsor is:

      Brian S. Kammer
      Bar No. 406322
      241 E Lake Dr
      Decatur, GA 30030
      Tel: (678) 235-4964

14.   When I file my application I will forward a copy to the State Bar of Georgia along with a
      check or money order made payable to the State Bar of Georgia in the amount of $275, as
      this is my first application filed for this calendar year.
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       I, Brad S. Karp, applicant in the foregoing Verified Application for Pro Hae Vice Admission,
hereby verify the facts contained therein are true and accurate to the best of my knowledge.




                                              ay,2023



        Applicant Sworn to before me this~
                                                        Notary Public,State of NewYork
                                                              No. 01 MO6440838
                                                       Qualifiedin NewYorkCounty
                                                   CommlaslonExpiresSeptember12, 2()28

                                               Notary Public
                                                My commission expires
    Case 1:23-cv-03721-SCJ Document 1-175 Filed 08/21/23 Page 6 of 6




            IN THE SUPERIOR COURT OF FULTON COUNTY

                             STATE OF GEORGIA


  INRE:                                                 Case No. 2022-EX-000024
  SPECIAL PURPOSE GRAND JURY


                         CERTIFICATE OF SERVICE

      This is to certify that I have caused a true and correct copy of the foregoing

document to be served via electronic mail to the following counsel of the parties:


      Jennifer L. Little                     Kieran J. Shanahan
      Jennifer Little Law, LLC               Shanahan Law Group, PLLC
      Jlittle@j llaw .com                    kieran@shanahanlawgroup.com

      Drew Findling                          Fani T. Willis
      Marissa Goldberg                       Will Wooten
      Findling Law Firm                      Office of the District Attorney
      drew@findlinglawfirm.com               F ani.willisda@fultoncountyga.gov
      marissa@findlinglawfirm.com            Will. wooten@fultoncountyga.gov



      This 22nd day ofMay 2023.

                                                            fL--{L---
                                                                      Brian Kammer
                                                                Ga. Bar No. 406322
                                                                      241 E Lake Dr
                                                                Decatur, GA 30030
                                                                Tel: (678) 235-4964
                                                          attybkammer@gmail.com
